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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                   4:14CR3051

       vs.
                                                 PRELIMINARY ORDER OF FORFEITURE
BILLY J. SCHRADER and JULIE R.
THIEMANN,

                      Defendants.



       This matter comes on before the Court upon the United States' Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 127). The Court reviews the record in this case and,

being duly advised in the premises, finds as follows:

       1. Defendant, Thiemann has entered into a Plea Agreement (Filing No. 81) whereby she

has agreed to plead guilty to Count IV and admit the Forfeiture Allegation in the Indictment filed

herein. Defendant, Schrader, has agreed to plead guilty to Count I and the Forfeiture Allegation

of the Indictment filed herein. Counts I and IV charged the Defendants with t production of child

pornography by a parent or guardian of child pornography, in violation of Title 18, United States

Code, § 2251 (b)(2) and §2. The Forfeiture Allegation sought the forfeiture, pursuant to 18

U.S.C. ' 2253, of the following:

       1. One Dell Studio 153 7 laptop, service tag number 8LZYLH 1;

       2. One Hitachi 250 GB hard drive, serial number 081113FC3DOONJG2RJ9C;

       3. One Toshiba 40GB hard drive, serial number 63G31195S;

       4. One Motorola Droid 3 cellphone, serial number L826QS7MSS;

       5. One Dell Studio PP39L laptop, serial number 76WD8M1;
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       6. One Seagate 320GB hard drive, serial number 5VJ37BZR;

       7. One Motorola Droid 2 cellphone, serial number L516NS5L VK; and

       8. One Samsung 2GB Micro SD card,

on the basis they were used or was intended to be used to facilitate said violation.

       2. By virtue of said guilty plea, the Defendants forfeits his interest in the above-described

properties, and the United States should be entitled to possession of said properties, pursuant to

18 U.S.C. ' 2253.

       3. The United States’ Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The United States’ Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

       B. Based upon the Forfeiture Allegation of the Indictment and the Defendants plea of

guilty, the United States is hereby authorized to seize the properties.

       C. The Defendants interest in said properties is hereby forfeited to the United States for

disposition in accordance with the law, subject to the provisions of 18 U.S.C. ' 2253.

       D. The aforementioned properties is/are to be held by the United States in its secure

custody and control.

       E. Pursuant to 18 U.S.C. ' 2253, the United States forthwith shall publish for at least

thirty consecutive days on an official Government internet site, www.forfeiture.gov, notice of this

Order, Notice of Publication evidencing the United States= intent to dispose of the properties in

such manner as the Attorney General may direct, and notice that any person, other than the

Defendant, having or claiming a legal interest in any of the subject properties must file a Petition
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with the court within thirty days of the final publication of notice or of receipt of actual notice,

whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E, above, shall be

for a hearing to adjudicate the validity of the Petitioner’s interest in the properties, shall be signed

by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner's right, title or interest in the subject properties and any additional facts supporting the

Petitioner’s claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written notice to

any person known to have an interest in the properties subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 18 U.S.C. ' 2253, in which all interests will be addressed.

       ORDERED this 27th day of April, 2015.


                                                        BY THE COURT:

                                                        s/ Richard G. Kopf
                                                        Senior United States District Judge




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